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                                     b     iNAL                        FILED IN THE
                                                               UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII
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Pro Se




                IN THE UNITED STATES DISTRICT COURT


                      FOR THE DISTRICT OF HAWAII



YA-WEN HSIAO,                              CIVIL NO. 18-CV-00502-                   M


                  Plaintiff,               MEMORANDUM OF SUPPORT
                                           FOR PLAINTIFFS OPPOSITION
     vs.                                   TO DEFENDANTS MOTION TO
                                           DISMISS;
 ALEXANDER ACOSTA,in his
capacity as the United States Secretary    CERTIFICATE OF SERVICE
of Labor,
                                           EXHIBITS
                Defendant.
                                           Exhibit 1 - Latest FOIA Response from DOL

                                           Exhibit 2- July 24,2017 Email inquiry from
                                           Employer

                                           Exhibit 3 - Request for Evidence from USCIS



                                           Hearing Date: June?,2019
                                           Dearing Time: 11:00 AM
                                           Place: Aha Kanawai
                                           Before: Honorable Judge Jill A. Otake
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72 Fed. Reg. 27903(May 17, 2007)                                 8
                                 INTRODUCTION

The Defendant has moved the Court to dismiss the instant case in its entirety
pursuant to Federal Rules of Civil Procedure 12(b)(1) claiming the Court has no
jurisdiction over this case due to the Plaintiffs lack of Constitutional and Prudential
Standing.
This is a resubmitted opposition to the Defendant's Motion to Dismiss. To the best
extent possible,the Plaintiffreferences the corresponding exhibits to the ECF system
rather than file the exhibits again.
In the interest of brevity, efficiency and clarity of arguments, the memorandum of
support herein initially follows the Defendant's headings in their Memorandum in
Support of Dismissal. The Plaintiff does not construe the headings in the memo as
allegations that needs to be addressed but will address the merits in the paragraphs
that is brought up in that heading. To the extent that a response is expected, the
Plaintiffs oppose and deny the allegations contained in the headings.
The arguments stated here primarily address issues ofstanding and allegations made
by the Defendant. The Plaintiff does not touch every issue in the initial pleading.
Therefore, an omission of an issue that is present in the original complaint and not
addressed here should not be construed as a waiver ofthose arguments.


                       STATEMENT OF JURISDICTION

The Plaintiff agrees that she invoked the jurisdiction of this Court under the
Administrative Procedure Act and 28 USC § 1331.


                               ISSUE PRESENTED

The Plaintiff agrees that the issue in this motion filed is based on constitutional and
prudential standing.
The Plaintiffin her opposition raises the issue of whether the Defendant has actually
established standing for the Plaintiff with regards to an Alien beneficiary for a Labor
Certification application bringing an action to Federal District Court.
The Plaintiff accuses the Defendant offiling a frivolous Motion to Dismiss because
the Defendant already has published its admission that the Plaintiff has independent


                                                             CIVIL NO. I8-CV-00502-JAO-KJM
standing to sue in Federal District Court for a denial of a Labor Certification
application.
The Plaintiff moves this court to deny the Defendant's Motion to Dismiss and to
censure and sanction the Defendant. In the interest ofjustice, order the Defendant to
show cause to the court explaining the untruthful allegations stated.


                          STATEMENT OF THE CASE

The Plaintiff generally agrees with the characterization the Defendant presents here.
An important factor however, is inaccurate. The Defendant stated: "In the
Application, the Employer asserted that it sought to employ Plaintiff as an
information technology specialist."
To clarify, the Plaintiff is currently legally employed by the Employer as an
Information Technology Specialist(ECF 14-7). The employer's PERM application
is an assertion by the Employer that it was sponsoring her for a Labor Certification
which would allow her continued employment and a chance to file for permanent
residence. It is an assertion by the employer that from the bona fide recruitment steps
it took that there are not sufficient U.S. workers able, willing,qualified, and available
to accept the job offered the alien at the prevailing wage for that occupation in the
area of intended employment, and that employment of the foreign worker will not
adversely affect the wages and working conditions of similarly employed U.S.
workers.

The Defendant also states that the Employer's"Pro Se Motion for Relief challenged
the En Banc Procedures used by BALCA. This is true, but to clarify, it is one of a
host of other issues that the Employer brought up in this particular motion.


            STATUTORY AND REGULATORY BACKGROUND

The Plaintiff agrees with the characterization on the process of obtaining lawful
permanent residence through the means of employment.
The Defendant has accurately stated that the prospect of gaining lawful permanent
status and continued employment by the Alien is contingent on the Employer
sponsoring her as a beneficiary of that application.



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In ETA, Final Rule, Labor Certificationfor the Permanent Employment ofAliens in
the United States; Reducing the Incentives and Opportunitiesfor Fraud and Abuse
and Enhancing Program Integrity, 72 Fed. Reg. 27903 (May 17, 2007), prohibits
the substitution of alien beneficiaries on permanent labor certification applications
and resulting certifications. This means that the application that the Employer
submitted in sponsoring the Plaintiff is exclusively for her.


                       SUMMARY OF THE ARGUMENT

The Defendant's claims on standing fails because as the Defendant stated, the
Plaintiff is the beneficiary of the Labor Certification Application made by the
Employer.
While it is true that the application belongs to the Employer, the Plaintiff is the sole
beneficiary ofthat application. The regulations will not allow the Employer to "give"
that Labor Certification to any other alien looking to gain a lawful permanent status
or a "Green Card".

The Defendant tries hard to paint the picture of the Alien as "merely" a beneficiary
or a third party who has no interest in the application, the Plaintiff is the sole
beneficiary for this application.
The denial of an approved Labor Certification to the Employer has denied her the
ability to work after her current work permit expires. The denial also deprives her of
the opportunity to take the next regulatory steps in gaining lawful permanent status.
This is a concrete "injury-in-fact" that is clearly traceable to the unjustified and
unlawful actions by the Defendant. The Defendant's motion to dismiss on
constitutional standing seems a bit outlandish given the fact that the Defendantjust
recited the whole premise of why the Plaintiff is bringing this action.
The Defendant further argues that the Plaintifflacks prudential standing because she
is not within the "zone ofinterests" contemplated by the statute being invoked. The
Defendant's analysis of the "zone of interests" is too narrow and applied
erroneously. Further,the Defendant's contentions fail simply by looking and reading
the Statutory and Regulatory rules that the Defendant just mentioned. The Plaintiff
is regulated by the Labor Certification Rules and the INA wherein she is the sole
beneficiary who may or may not file for an 1-485 to adjust her status to that of a
lawful permanent resident. Further, the Plaintiff by the definition ofthe INA section
cited by the Defendant is a U.S. Worker.

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The Plaintiff also opposes and denies that the allegation of the DOL violating its
FOIA regulations is moot. The Defendant claims that they have fulfilled their
responsibilities and statutory duties but evidence shows that they are being deceitful
on this claim. To the date of this memorandum, the Plaintiff still has not received
the complete responsive documents.


                                    ARGUMENT

   A. Standard of Review Under Federal Rules of Civil Procedure 12(b)(1)
The Plaintiff generally agrees with the characterization.
The Plaintiff adds that in considering a motion to dismiss, courts must construe the
pleadings in the light most favorable to the nonmoving party and view the allegations
in the complaint as true. Knievel v. Espn, 393 F.3d 1068, 1072(9th Cir., 2005)


   B. Constitutional and Prudential Standing
The Plaintiff agrees with the characterization presented by the Defendant here. This
section is general statements about standing.
Defendant cites Fed'n For Am.Immigration Reform v. Reno,93 F.3d 897,899(D.C.
Cir. 1996). This case is not applicable to Plaintiffs standing because this was a third-
party Plaintiff who is an "association" or an "interest group". That Court has found
that their members have no prudential standing to sue. The court made clear though
that if even one oftheir members have shown prudential standing, then the Plaintiffs
in this case would be entitled to bring that action to Court.
With regards to prudential standing, the Court in this case also said:
"In light of the Supreme Court's decision in Clarke v. Securities Indus. Ass'n, 479
U.S. 388, 107 S.Ct. 750,93 L.Ed.2d 757(1987), we have viewed parties as showing
a protected interest ifeither they were intended by Congress as "beneficiaries" ofthe
statute or we could infer that Congress intended them as a "suitable challenger."
Hazardous Waste Treatment Council v. EPA,861 F.2d 277,283(D.C.Cir.l988). To
qualify as the latter, a party must show "less than an intent to benefit but more than
a 'marginal relationship' to the statutory purposes." Id.(quoting Clarke, 479 U.S. at
399, 107 S.Ct. at 151)1''Federationfor American Immigration Reform, Inc. v. Reno,
93 F.3d 897,900(D.C. Cir., 1996)

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   C. Plaintiff lacks constitutional standing to challenge the denial of the
      Employer's Application, as she is not the applicant but merely the
      beneficiary.
The Defendants' claim that the Plaintiff is a third party in this case fails because the
denial of the application for labor certification by the Employer directly and solely
benefits the Plaintiff in securing the first step in applying for lawful permanent
residence status and the ability to legally work and provide for her family.
ECF 1-7 Page 11-13 is the personal letter the Plaintiff attached to Employer's Pro
Se Motion to Re-Open urging the Chief ALJ to review the case. This letter was not
rejected by the Chief ALJ in his August 20, 2018 ruling. The Defendant did not
contend that the Plaintiff is not an integral party to this case then and the Defendant
may not do so now.
The Defendant seems to forget that they are the Department ofLabor, not the United
States Customs and Immigration Services (USCIS). The multiple case law that the
Defendant presented are predominantly cases involving the USCIS, the sole agency
who has the statutory right to issue visas.
The Defendant puts forward a litany of cases that muddies the arguments, taking
statements in generalities where it is not applicable in this situation. For instance,
the Defendant cites George v. Napolitano, 693 F. Supp. 2d 125 (D.D.C. 2010),
stating in dictum that the court held that the Employer was the sole party with
standing to seek review of a denial of a 1-140 work visa rather than a beneficiary
employee.
This was a case against the USCIS under a different set ofcircumstances. In George,
the application for Labor Certification was actually granted. The alien then sued
USCIS because he switched jobs and the USCIS denied him the 1-485 because the
previous employer has withdrawn the approved labor certification or 1-140. This
case had nothing to do with an "abuse of discretion" charge against the Department
of Labor.

The Defendant says that the Plaintiff is only a beneficiary, the Defendant however
fails to state that she is the sole beneficiary. Defendant cites Cost Saver Mgmt., LLC
V. Napolitano, No. CV 102105JST(CWX),2011 WL 13119439(C.D. Cal. June 7,
2011), stating the Employer is "the proper party having a personal stake in the
outcome sufficient to warrant... invocation offederal courtjurisdiction". The Court
in Cost Saver actually distinguishes fi"om this case wherein the beneficiary for Cost


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Saver was for a non-immigrant visa who has not been admitted to the US. Indeed,
that Court stated that beneficiaries of immigrant visas would have standing.
Aranas v. Napolitano, No. SACV121137CBMAJWX, 2013 WL 12251153 (C.D.
Cal. Apr. 19, 2013)does not apply to this case because the Plaintiffs were a class of
undocumented immigrants facing removal proceedings. The Plaintiff in Aranas
brought up the constitutionality of the Defense Of Marriage Act(DOMA)claiming
because the act barred USCIS from recognizing her same-sex marriage with her
partner, she would not be protected from deportation through the "undue hardship
waiver". Further, the "derivative immigration benefit" the Defendant speaks of is
one ofthe son ofthe undocumented immigrant is claiming. The Court found that the
undocumented immigrant had standing due to the possibility of being granted a
"waiver ofinadmissibility" as the direct beneficiary ofthe US citizen partner. In Ms.
Hsiao's case, she is not a "derivative" beneficiary of the Labor Certification
application, she is a direct beneficiary ofthe Employer's sponsorship.
Andros, Inc. v. United States, No. C10303Z, 2010 WL 4983566(W.D. Wash. Dec.
2, 2010)is another case that the Defendant misrepresents, in this case, the court did
not find the alien lacked standing because he is merely the beneficiary. The court in
Andros found that the Plaintiff did not have standing under the requirement of
"redressability" because he was an undocumented immigrant and even if the court
granted him the requested relief, his illegal status would bar him from obtaining legal
permanent residence or adjusting his status.
Li V. Renaud, 709 F. Supp. 2d 230(S.D.N.Y. 2010) was a case with regards to the
priority date of a family-based immigration petition. The Plaintiff was moving the
Court to retain an older priority date so they can immigrate to the US faster. The
footnote does exclude the beneficiary from having standing to sue, but this was for
a "derivative immigrant benefit" through a family based petition to the USCIS,
specifically for 1-130 petitions and the court restricted its opinion to such petitions
not Labor Certifications.

Ibraimi v. Chertoff, 2008 WL 3821678 (D.N.J. 2008) also does not apply because
the Plaintiff in that case is an undocumented immigrant and it is a case against the
USCIS. Noteworthy is that this case is an unpublished case from a different circuit
and therefore, the findings are limited to the facts ofthat case.
Blacker v. Ridge, 436 F. Supp. 2d 602 (S.D.N.Y. 2006), the Defendant states that
the Court found that the employer was the only party with standing to seek review
of the denial of the Hl-B petition. This fails for three reasons; First, this is a case

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against the USCIS, and the denial of an Hl-B visa petition. The court also in its
analysis of the alien's "protected interest" limited it to the facts of that case in
relation to the administrative process, not as part of Article III standing. The footnote
does indicate that the Employer was the appropriate party to the case, but the reason
the Court gave for that was clear, the alien was not admitted to the US as part ofthe
US workforce. Certainly an alien such as Ms. Hsiao who was admitted and
authorized to work in the United States have constitutionally protected rights to due
process. Wang v. Reno, 81 F.3d 808,817(9th Cir. 1996)
The "principles" that the Defendant seeks to portray does not apply. Defendant has
not shown any case nor plausible argument that points directly to the Plaintiffs
supposed lack ofstanding. The cases mentioned actually affirms Plaintiffs standing.
The Defendant cites to multiple other cases where courts have found the alien to
have standing to sue. The argument that these cases are distinguishable from Ms.
Hsiao's case is non sequitur from the perspective of all the cases the Defendant cites.
The Defendant essentially says that all these cases where the courts have found the
alien have to standing are distinguishable because it was on the "second step" ofthe
visa process, yet, all the cases the Defendant cites against the Plaintiffs standing are
all on the "second step". All the cases the Defendant cites are mainly actions against
the USCIS for a visa petition, not the Department of Labor for a Labor Certification.
Tenrec, Inc. v. U.S. Citizenship & Immigrations Servs.(D. Or.,2016)-The Plaintiff
agrees this is distinguishable, but only because it is a case against the USCIS. The
analysis in this case is instructive. The Defendant claims this did not apply because
it is the alien's "status is at stake" and because a labor certification application does
not provide an alien worker with any US immigration status. As mentioned,the legal
Hl-B status and the ability to continue to work and provide for her family is what is
"at stake" here, and exactly what the court in Tenrec mentions as well. The Court in
Tenrec spoke to more than what the Defendant presents, in its lengthy analysis of
both the Plaintiff and the Employer's independent standing has rebutted the
numerous cases the Department of Labor cites in the present case and has explained
why they are distinguishable.
Further, Tenrec said: "The Court does not find persuasive the limited analysis in
Blacher relating to standing. See Shalom Pentecostal Church v. Napolitano, 2013
WL 162986, at *3-4(D.N.J. Jan. 15, 2013)("Shalom I")(holding that visa petition
beneficiaries do have standing and disregarding Blacher and the other cases cited by
Defendants for improperly relying on "the regulatory requirement that only the
petitioner, and not the petition's beneficiary" may file an administrative appeal
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(emphasis in original))." Tenrec, Inc. v. U.S. Citizenship & Immigrations Servs.(D.
Or., 2016)
The Defendant also conveniently left out that the Tenrec court specifically found
that the alien's "status is at stake" is because the alien is "more than a mere
onlooker".

Patel V. U.S. Citizenship & Immigration Servs., 732 F.3d 633(6th Cir., 2013)- The
Defendant quotes the court as saying the alien "lost a significant opportunity to
receive an immigrant visa". Ms. Hsiao has been waiting for this case to be justly
adjudicated for more than 7 years. She has been on a legal working visa for 13 years.
The Plaintiffin Patel was an undocumented immigrant. Further,reading the majority
opinion and even the dissenting opinion ofthat Court reinforces the standing of Ms.
Hsiao.

Patel further found that the INA protects the interests of potentially qualified aliens
and that the INA gives the visa ultimately to the immigrant and not the employer,
therefore showing that the immigrant has a stake in the proceedings. Patel v. U.S.
Citizenship & Immigration Servs., 732 F.3d 633,636(6th Cir., 2013)
Reading the opinions of the cases that the Defendant cites reinforces and confirm
the standing of Ms. Hsiao.
Interestingly enough,this is the same argument that Ms. Hsiao makes in the original
complaint. That the Defendant has tried to have their cake and eat it too. The
Defendant cannot say that cases where the courts have found the alien to have
standing does not apply because it is at the "second stage of the visa process" then
on the very same breath, cite the very same type of cases to say "these cases apply".


   D. Plaintiff lacks constitutional standing because she has not sufficiently
      pled an injury-in-fact that is fairly traceable to Defendant's challenged
      conduct and redressable by a favorable decision.
The arguments the Defendants make here demonstrates that they have a lack of
knowledge of the very program they implement. Either that or they are just filing
this motion to dismiss as a delaying measure and wasting the Court's resources.
Paragraph 41 of the complaint states:




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"On May 11,2018, Plaintiff again requested a status update because she was due for
visa renewal and USCIS requires a status confirmation from OALJ to confirm she is
eligible for extension of status."

The Defendant has for more than 7 years adjudicated this case, and the Employer
has asked twice for status updates specifically for the purpose of extending her
working permit with USCIS. To feign ignorance on the fact that the Plaintiffs
livelihood depends on a fair adjudication of her Employer's application is
disingenuous at best and dishonest at its worst.
Exhibit 2 is the e-mail dated July 24, 2017, from the Employer to the DOL OALJ,
asking for a status update specifically for the purpose of extending the Plaintiffs
working permit allowing her to continue working. The response of which is at ECF
1-8.

Exhibit 3 is the Request for Evidence(RFE)by USCIS requesting evidence to extend
the Plaintiffs work permit.
One of the main premises of this lawsuit is that the unlawful denial and unlawful
appeals process of the labor certification used in this case, not only deprives her of
the opportunity for applying for lawful permanent status, but also the basic ability to
actually continue to legally work in this country.
The Plaintiff appreciates the sympathy that the Defendant expresses, but the
Defendant's five full pages of analysis towards the personal damages is misplaced.
The Defendant goes primarily into the merits ofthe allegations the Plaintiff made in
the complaint and how the Plaintiff fails to show causality. The Plaintiff is not a
lawyer, however, the Defendant is not a doctor. The grave injustice suffered by the
Plaintiff at the hands ofthe Defendant undoubtedly caused her and her family added
undue stress and suffering. Any person with knowledge her family's situation, the
facts of the case and the consequences of these illegal acts can confidently assume
that the experience is not one of euphoria. There is no expert medical advice needed
to make such an assumption and the claim is certainly more than plausible. It would
seem that a motion to dismiss is not an appropriate venue to litigate this portion of
the case. For the purposes of this motion, the Court must take all allegations as true
and construe the pleadings in the light most favorable to the non-moving party.
The allegation that a favorable ruling for the Plaintiff in this case would not redress
the injury-in-fact is not true. The court finding in favor of the Plaintiff would allow
her to continue working therefore providing for her family and providing healthcare

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for her child and her husband and the Defendant is aware ofthis.(ECF 1-7 Page 11-
13)
The 9^^ Circuit in Abboud v. I.N.S., 140 F.3d 843, 847(9th Cir., 1998), have stated
that the "lost opportunity" is in itself a concrete injury. The Plaintifffinds it odd that
the Defendant would leave out this significant case which applies directly to the
injury-in-fact claim that the Defendant denies happened. This Court can redress this
injury by ordering the Defendant to issue the Labor Certification and grant the
Plaintiff the opportunity to pursue the next steps in obtaining her permanent
immigrant status.
The Defendant reiterates that "This is only the first step in a three-step" process and
that even if it was approved, it would not necessarily result in her obtaining an
employment-based visa. This is an oversimplification of the facts and precisely the
type of argument that cannot be made for these types of cases. Yes, it does not
guarantee an approval of an employment-based visa, but this argument speaks
directly to the fact that but for the denial, the Employer was denied the ability to
sponsor the Plaintiff towards the next step. A step that the Employer has
affirmatively shown that it intends to do. It also deprives the Plaintiff the ability to
continue her employment past her current working permit and also deprives her of
the opportunity to apply for an adjustment of status to that of a lawful permanent
immigrant.
"[PJlaintiffs need not demonstrate that there is a 'guarantee' that their injuries will
be redressed by a favorable decision ... [Pjlaintiffs must show only that a favorable
decision is likely to redress [their injuries], not that a favorable decision will
inevitably redress [their injuries]."Ibrahim v. Dep't ofHomeland Sec., 12 Cal. Daily
Op. Serv. 1662, 669 F.3d 983, 2012 Daily Journal D.A.R. 1798 (9th Cir., 2012)
citing Wilbur v. Locke, 423 F.3d 1101, 1108 (9th Cir.2005) (internal quotations
omitted, emphasis and alterations in original)
On ECF 14-2 is a letter from the Dean of the School of Medicine after the Chief
Judge denied the last motion to BALCA, which will illustrate the lack of injury-in-
fact claim by the Defendant into the Plaintiffs perspective.




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   E. Plaintiff lacks prudential standing because she is not within the ''zone of
      interest" covered by the statute governing alien labor certifications filed
      by employers.
The Defendant is wrong in claiming the Plaintiffis not within the "zone ofinterests".
The Defendant uses the following words repeatedly in this section: "U.S. Workers"
and "Domestic Workforce". The Defendant states that the idea of which is that the
Labor Certification Process protects the interests of said parties. The Plaintiff
disagrees with the Defendant's contention that she is not a member of the domestic
workforce.

The Plaintiff was initially admitted into the country on an F-1 Student Visa and has
legally worked for the school she was admitted to on a part-time basis since 2002
until she graduated with a Master's Degree. Following her receiving her graduate
degree, she was granted an Hl-B working visa and proceeded to work for the
University of Hawaii. She has paid all taxes, Social Security contributions, and other
taxes or fees expected of a participant in the "domestic workforce" continuously
since her admittance into the United States. Plaintiffs tax returns are available upon
request.

The Defendant states that the regulation must be seen as solely protecting US
workers, but to state that the INA was created without considering the interests of
qualified aliens for whatever class they are admitted to is preposterous. Further, the
Plaintiff w a US worker.

The Defendant cites Air Courier Conference ofAm. V. Am. Postal Workers Union,
495 U.S. 517, 529-30(1991). This was a case brought about by Unions challenging
USPS' monopoly over the carriage of letters in and for the United States is codified
in a group of statutes known as the Private Express Statutes (PBS). The monopoly
was created by Congress as a revenue protection measure for the Postal Service. The
quoted "complete isolation" was never used in the opinion. And with regards to
"integral relationship", the Court specifically said:"This statement, like all others in
our opinions, must be taken in the context in which it was made." Air Courier
Conference ofAmerica v. American Postal Workers Union, 498 U.S. 517, 111 S.Ct.
913, 112 L.Ed.2d 1125 (1991). The point that the Court was making was plainly
mis-quoted and taken out of context. In fact. Fed'n For Am. Immigration Reform (a
case the Defendant cited) says: "In applying the zone-of-interests test, we do not
look at the specific provision said to have been violated in complete isolation."
Federationfor American Immigration Reform, Inc. v. Reno,93 F.3d 897(D.C. Cir.,
1996)(Emphasis added).

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The Defendant states the relevant provision at 8 USC § 1182(a)(5) makes the
Plaintiff"inadmissible" and the court must only look at it from this perspective. But
it would be ludicrous to claim that this Court is forbidden to look beyond a single
paragraph.
Patel 732 F.3d at 636 said:" But it is folly to talk about "the purpose" of the statute
when the statute reflects a compromise between multiple purposes. One can
speculate that Congress meant to exclude certain aliens to protect American workers,
and admit other,"qualified" aliens to help American employers. But there is no basis
in the text of the statute—none—^to conclude that Congress was completely
indifferent to the interests ofthe "qualified immigrants" themselves."
The Defendant cites Bennet v. Spear,520 U.S. 154(1997)saying prudential standing
requirements preempt her to show her alleged injuries to "arguably fall within the
zone of interest protected or regulated by the statutory provision". The Plaintiff
satisfies both.

For the purposes of 8 USC § 1182, the Plaintiff has already been deemed as
"admissible" because of her Hl-B status. The provision protects US workers,
citizens or not, who are contributing to the US economy. It precludes aliens who are
not yet in the country or not authorized to work in the country. The Plaintiff is part
of the former and not the latter.

Further, § 1182 defines "United States Workers" twice. 8 USC § 1182(n)(4)(E) and
8 USC § 1182(t)(4)(D) both of which considers the Plaintiff as a "United States
Worker"

It is ridiculous to allege that the Labor Certification regulations only protects "US
Citizen Workers" because nothing in that provision states anything about
citizenship. In fact, 8 USC § 1182(a)(5)(A)(i)(II), the very statute the Defendant
cites, states:

"the employment of such alien will not adversely affect the wages and working
conditions of workers in the United States similarly employed."
The Plaintiff is a "worker in the United States similarly employed"
In 8 USC § 1182(a)(5)(A)(i)(I), the INA creates a special carve out for aliens in the
teaching profession as well as aliens with exceptional abilities.
The language used in this specific statute does not have the words "United States
Worker". The intent is plainly stated.

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As Ms. Hsiao is a worker in the United States and in fact by definition ofthe INA,a
"United States Worker", her interests are clearly protected by 8 USC § 1182(a)(5).
The Plaintiff also has standing as 8 USC § 1182(a)(5) has been applied to her. Din
V. Kerry, 718 F.3d at 868 (9th Cir., 2013)


   1. Congressional Intent Behind Employment Petition and Labor
      Certification Scheme.



The Defendant's unacceptable narrow analysis is antithetical to the word "zone" in
"zone of interests". It would be difficult to imagine the viability ofjudicial review
to any unconstitutional action or law if Courts were to base the concept of prudential
standing to the singular condition of "congressional intent". The picture that the
Defendant paints here is the very definition of"arbitrary and capricious".
The case stated here is not analogous, in Pat v. United States Citizenship and
Immigration Services (D. D.C., 2011), the issue was about a non-resident alien
waiting to be admitted into the United States. Ms. Hsiao is for all intents and
purposes and by definition at § 1182, a US Worker. Therefore, by the Defendant's
own analysis, the Plaintiff is part ofthe American Workforce.
More importantly, Pai in a pertinent part said: "This Court agrees that the plain
language, as well as the legislative history of, the numerical limits of Section
1153(b)(3) and the labor certification requirements of Section 1182(a)(5)(A) reflect
a clear consressional concern for protectins the interests ofAmerican labor over
those offoreisn workers. In addition, the congressional concern extends to ensuring
that American employers have the ability to hire qualified non-resident alien workers
where no qualified American workers are available."(Emphasis added)
The intent ofthe Labor Certification Scheme and even the Hl-B working visa permit
regulations protects those who are in the country and already part of the US
workforce.

Nothing in Pai nor in Vemuri v. Napolitano, 845 F. Supp. 2d 125 (D. D.C., 2012)
mentions anything about "citizenship".




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   2. Plaintiff's Interest Are not among the Protected interests.
Plaintiffs interests are clearly part of the protected interests the Defendant alleges.
Vemuri v. Napolitano, 845 F. Supp. 2d 125 (D. D.C., 2012) does not apply to the
instant case. In Vemuri, the court by its own admission, very narrowly analyzed
congress intent in the Labor Certification scheme. Even if we were to apply the
admittedly narrow analysis in that Court,the Plaintiff in this case having shown that
she is part of the U.S. Workforce is within the interests that Congress intended to
protect.

The Defendant's assertion that the Labor Certification process protects American
Citizen Workers have no basis. The Plaintiff is a contributing, tax paying, law
abiding member of the United States economy.
On ECF 14-7 is the approval from USCIS authorizing the Plaintiff to work for the
Employer until November of 2019. The complete history of Hl-B approvals up to
the 13*^ year is available upon request.
It is important to note, that Hl-B working visas are typically valid for 3 years and
renewable once which extends to 6 years. A yearly extension is then given to aliens
who have pending labor certification applications. The Plaintiff is currently on her
thirteenth year,(emphasis strongly added)
Cheung v. Immigration and Naturalization Servs.,641 F.2d 666(9th Cir. 1981)does
not apply because Chueng was self-petitioning directly to INS for an "investor visa"
and the analysis ofthe Court was centered on business investor visas. Ms Hsiao is a
lawful member of the U.S. Workforce whose interests are protected by the INA in
which the labor certification process was promulgated upon.
Andros, Inc. v. United States, No. C10303Z,2010 WL 4983566(W.D. Wash. Dec.
2,2010)does not apply because the alien in this case is an undocumented immigrant.
The Defendant has cited to no less than five cases where the alien beneficiary is an
undocumented immigrant. Clearly,this is a contention that demonstrates the Plaintiff
has standing because she is a legal, tax contributing and productive member of the
American workforce. It is in fact deplorable that the Department of Labor, who is
tasked in the protection of US workers, citizen or not, has actively engaged in
misconduct to deny due process to aliens similarly situated as Ms. Hsiao. Wang v.
Reno, 81 F.3d at 820(9th Cir., 1996)




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   F. Plaintiffs claim that the DOL failed to respond to her FOIA request is
       moot.

The Defendants assertion on the FOIA issue is not truthful. On EOF 14-4 is the e-
mail thread to the DOL asking for status updates on the FOIA request. The Plaintiff
also has phone records on the multitude oftimes that an update was requested since
October of2018. As mentioned in the original pleading,the Office of Administrative
Law Judges(OALJ)has furnished their part ofthe FOIA request in a timely manner.
The letter provided by the Defendant apparently proving that Office ofthe Assistant
Secretary for Administration and Management(OASAM)has completed the request
is not dated, nor has the Plaintiff received the records they claim to have sent. The
letter attached was received by the Plaintiff through electronic means as seen in the
Exhibit without any responsive records attached. Nothing from OASAM has been
received through FedEx, UPS,or USPS. The Plaintiffin her email offered to pay for
a traceable means of sending the records without any response.
On March 7, 2019, the Plaintiff received a set of responsive documents with a
postmark date of February 27, 2019, from the Office of the Solicitor of the
Department of Labor. It includes 5 pages of documents excluding the cover letter
which means two things. One,this cannot be the document the Defendant referenced
in their Motion to Dismiss. Two, the Defendant's claim that OASAM's supposed
release of documents has satisfied and mooted the FOIA issue is a willful
misrepresentation. In the interest of perspicuity, the Plaintiff attaches as Exhibit 1 of
this re-filed opposition, the cover letter received on March 7, 2019.
OASAM,the Human Resource arm of the DOL or the Office of the Solicitor of the
DOL who oversees the FOIA compliance for the department, seems to be
manipulating data and doing questionable actions. ECF 14-5 are screenshots taken
on January 30, 2019 and other significant dates. The Plaintiff asks the court for an
order to the Defendant to show cause why the Defendants stated inaccuracies in its
statements. In light of evidence of further malfeasance, the Plaintiff asks the court
to order the Defendant explanations for its actions, in particular, why are they trying
to purposely hide public information to the point of falsifying data on the FOIA
tracking system to protect a retired govemment worker who evidently have
committed conflict of interest crimes?

This is the first time the Plaintiff found out that there were 8 pages of responsive
documents. These are employment documents of an employee with more than 30
years of service to the DOL. Finally, the FOIA regulations provide for an appeal
process from the receipt of the letter. Again, the Plaintiff has not received any
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documents nor letter from OASAM. The Plaintiff has not reviewed any of the
purported responsive documents and consequently have not had the chance to appeal
the adequacy of the supposed released records. The email thread ended on January
30, 2019 without any response from the DOL. For these reasons, the FOIA request
issue is not moot.



                          PLAINTIFF^S ARGUMENTS

                                    Introduction

The Defendant conflates and muddies the water in discussing the requirements of
both Article III Standing and Prudential Standing. The Defendant cites a litany of
cases where it is completely not analogous, corollary nor applicable. Further, the
cases cited which address the issues of standing as applied to the present case, are
virtually exclusively out of this Court's circuit.
The Plaintiff invites the court's attention to the following cases which directly
address the issues directly related to the instant case:


   a) Mendoza v. Perez,No. 13-5118(D.C. Cir. June 13,2014)(2014 WL 2619844)
      This case in its well detailed analysis on standing on labor certifications, states
      that a third-party intervenor has standing to sue. The issue presented and
      which the Defendant fails to address is that the Plaintiff is among other things,
      asserting procedural rights under the APA. A procedural agency action that
      clearly threatens her concrete interest.
   b) De Jesus Ramirez v. Reich, 156 F.3d 1273(D.C. Cir., 1998)

      Even though the DOL did not challenge the Plaintiffs independent standing
      in this case, the Court in this case exhaustively analyzes the Defendants
      standing in court in Permanent Labor Certification by the DOL without the
      Employer joining in the lawsuit. Though the final decision was averse to the
      Plaintiffs, the reason for this was the Employer did not join in the
      Administrative Appeals process. The Court found that the Plaintiffs plainly
      have standing but would not prevail in the case because the Employer did not
      completely participate in the Administrative Appeals Process. In Ms. Hsiao's
      case, the Employer went above and beyond the traditional Administrative

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   Appeals process. This case further cites all other District Court and Appeals
   Court decisions that apply directly to the question of standing of an alien in
   bringing a denied Labor Certification to Federal District Court.


c) Stenographic Machines, Inc. v. Regional Administratorfor Employment and
   Training, 577 F.2d 521 (7th Cir., 1978)
  This case plainly finds that the alien has standing to sue. The analysis ofwhich
  partly stated:
  "Similarly, the prospective alien employee would be economically injured if
  not given a certificate and has an interest which is within the zone of interests
  to be regulated. Moreover, even if Rahman had to show that his interest is
  within the zone of interests protected by the statute, as the Administrator
  incorrectly suggests is necessary, Rahman would have standing. Although the
  1965 amendment to § 212(a)(14), 79 Stat. 911, 917-918, was designed to
  protect American workers, that provision is part of chapter 12 of the
  Immigration and Nationality Act, which. Inter alia, states the standards for
  determining whether given classes of aliens are to be permitted to enter and
  remain in the United States, and was necessarily intended at least in part for
  the protection of aliens who are arguably entitled to enter or remain in the
  United States on the basis ofthose standards. Cf. Digilab, Inc. v. Secretary of
  Labor,495 F.2d 323,326(1st Cir. 1974). Accordingly, Rahman was a person
  adversely affected or aggrieved by the administrative action within the
  meaning of§ 10 ofthe Administrative Procedure Act,5 U.S.C. § 702,and has
  standing to sue." Stenographic Machines, Inc. v. Regional Administrator for
  Employment and Training, 577 F.2d 521 (7th Cir., 1978)
d) Mukadam v. US DEPT. OF LABOR, ETC.,458 F. Supp. 164(S.D. N.Y.,
   1978)
  This case directly addresses the narrow analysis by the Defendant in its
  Motion to Dismiss. In pertinent part, it said:
  "The government's analysis of § 212(a)(14) is unduly narrow. While it is
  undeniable that this section places the burden on the alien, nevertheless, it is
  part of a statutory scheme which extends to aliens who are professionals the
  right to seek permanent residence in the United States. Moreover, in 1975,
  when Mukadam filed his application for certification, the Immigration Act

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  permitted aliens residing in the United States to apply for third preference
  status (which requires certification) without a specific offer of employment.
  It follows that at that time Congress did intend to confer directly on aliens the
  right to seek permanent residence without the intercession of an employer. It
  would be inconsistent with this intent to limit judicial review of a denial of
  certification to aliens whose petitions are joined in by an employer when
  denial of certification forecloses an alien from seeking a third preference
  visa."

  The current employment-based regulations also allow for an alien to self-
  petition themselves for a second preference status (EB-2/NWI) with a
  "National Waiver Interest"



e) Betancur v. Roark(D. Mass.,2011)

  The Plaintiff cites this case to illustrate that even at the second step, the
  Plaintiff would have standing to sue. The important analysis is quoted as
  follows:


  "Indeed, it is clearly the employee and not the petitioning employer in this
  case who has suffered an injury. The only court in this jurisdiction to address
  the question found that the employee-beneficiary has standing to bring suit in
  federal court even if he has no standing to appeal through the administrative
  process. See Ore v. Clinton, 675 F. Supp. 2d 217, 223 (D. Mass. 2009)
  ("Whether a litigant has standing to sue in federal court, however, is not
  dependent on any agency regulation. Instead, the Supreme Court has
  established a three-factor test for standing, requiring (1) injury in fact,(2) a
  causal connection between the injury and the conduct complained of, and(3)
  a substantial likelihood that the requested relief will remedy the injury in fact.
  McConnell v. Fed. Election Comm'n, 540 U.S. 93, 225, 124 S.Ct. 619, 157
  L.Ed.2d 491 (2003). As the person who stands to benefit from being permitted
  to enter to the United States to work, [the plaintiff] clearly has suffered an
  injury caused by USCIS's action, which this Court has the power to set aside
  pursuant to the APA. Accordingly, [the plaintiff] has standing before this
  Court."). I agree. Moreover,the fact that a beneficiary does not have standing
  in the administrative process to appeal a denial or revocation of an


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         employment-based visa petition is all the more reason that he should have
         standing here."

   f) Abboudv. I.N.S., 140 F.3d 843(9th Cir., 1998)
         The 9'^* Circuit states that the alien beneficiary has standing, and not merely
         an onlooker. It also states that the mere lost opportunity to the alien
         beneficiary was an injury-in-fact that is traceable to the Defendant that is
         remediable by the Court. Abboud v. I.N.S., 140 F.3d 843, 847


                                      Article III Standing

The Plaintiff has Constitutional Standing to bring this action in Federal District
court.

The Defendant cites this case to establish Article III standing,"to satisfy Article Ill's
standing requirements, a plaintiff must show (1) it has suffered an 'injury in fact'
that is(a) concrete and particularized and(b) actual or imminent, not conjectural or
hypothetical; (2) the injury is fairly traceable to the challenged action of the
defendant; and (3)it is likely, as opposed to merely speculative, that the injury will
be redressed by a favorable decision."                 of Earth, Inc. v. Laidlaw
Environmental Services(TOC), Inc., 528 U.S. 167, 180-181 (2000).


         1. Plaintiff has suffered an 'injury in fact' that is concrete and particularized
            and actual or imminent.


               The DOL in denying the Labor Certification application unlawfully has
               caused the Plaintiffthe inability to work past her current H1-B working
               permit as well as depriving her the opportunity to apply for an
               adjustment of status to a lawful permanent resident.

         2. The injury is fairly traceable to the challenged action of the Defendant.
               The labor certification represents the Secretary of Labor's certification
               that there are no able, willing, qualified, and available U.S. workers for
               the position the alien seeks to perform on a permanent basis. The
               unlawful denial and procedures has caused the injury-in-fact as stated
               above.


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      3. It is likely, as opposed to merely speculative, that the injury will be
         redressed by a favorable decision.
             The approved labor certification will allow the Plaintiff to continue
             working therefore providing food, shelter and healthcare for her family.
             The approved labor certification will allow the Employer to continue
             employing her and continue the process of sponsoring the Plaintiff
             towards her lawful permanent status adjustment,(see BCF 14-2)


                                Prudential Standing

Even when Article 111 constitutional standing rules have been satisfied, the courts
have held that principles of prudence may counsel the judiciary to refuse to
adjudicate some claims. The Defendant cites Match-E-Be-Nash-She-Wish Band Of
Pottawatomi Indians v. Patchak, which basically states that the rule is "not meant to
be especially demanding,". Prudential Standing as the Defendant articulates is a
judge-made concept. It is clear that the Court feels free to disregard any of these
prudential rules when it sees fit. Warth v. Seldin, 422 U.S. 490, 500-501 (1975).
The Plaintiff is well within the zone of interests. The Defendant is correct that the
Labor Certification approval is vested to the Employer. In its analysis, the
Defendant, contends that it is the Employer whose interests are protected by the
regulation at hand. Where the Defendant fails in this analysis is that because the
Plaintiff is the sole beneficiary of this application, she is not a mere onlooker and
she is well within the zone of interests. Additionally, the Plaintiff is part of the US
Workforce, the very party that the Defendant claims that the Labor Certification
process seeks to protect.
The Plaintiff asserts procedural rights under the APA and constitutional rights to due
process by challenging the misconduct that occurred and En Banc Procedures
utilized by BALCA. To establish standing under this type of challenge, the Plaintiff
simply must demonstrate a personal injury or be "aggrieved" by the actions of the
Defendant. In the instant case, the denial of due process by a biased tribunal,
falsification of facts, failure of notice of the substantive changes made in
contravention of the APA and Defendant's own rules, and the conspiracy of the
Defendant in "packing" an expected neutral court resulting directly to her inability
to work past her current working permit and denying her the opportunity to apply

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for a lawful permanent resident status is more than sufficient to establish statutory
standing. "In addition, the Ninth Circuit specifically recognizes Fifth Amendment
protections extend to aliens. Wang v. Reno,81 P.3d 808,817(9th Cir. 1996)(finding
the Fifth Amendment protects aliens, especially those who became an alien through
the purposeful actions of the United States government)." Hamad v. Gates (W.D.
Wash., 2011)


POL BALCA's "BenchBook" proves that the Defendant's Motion is Frivolous

ECF 14-6 is a screenshot of BALCA's Bench book Chapter 24, the link of which as
of   the   date   of     this    memo   is    still   "alive"   and   can   be    found     at:
https://www.oali.dol.gov/PUBLlC/lNA/REFERENCES/REFERENCE WORKS/
DBCH24.HTM

BALCA Bench Book Chapter 24 Part 1(B)(2) states the following in verbatim:
"2. Request for review by federal district court
An alien has independent standing to seek judicial review of a denial of labor
certification in federal district court. Mastroyanis v. United States Dep't of Labor,
No. A88-089 Civil(D.C. Ala. May 5, 1989)."
The case cited is not published, the Plaintiff has attempted to procure a copy of the
rulings from the Alaska District Court, but it seems that the case has already been
disposed of.
Of course, a "bench book" is not law, but nevertheless, the Defendant's position and
analysis on the Alien's independent standing in federal district court is crystal clear
here.

The motion filed is therefore evidently a frivolous one. The Plaintiff asks the court
for appropriate sanctions and hold the Defendant in contempt.


                                FOIA ISSUE IS NOT MOOT

ECF 14-4 demonstrates the half a year's long and still continuing ordeal with the
DOE to secure documents with regards to Harry Shienfeld's employment records.
The last email of which was sent on January 30, 2019 was not responded to by the
appropriate officials.


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ECF 14-5 demonstrates a collection ofscreenshots taken at the timestamps indicated.
The original softcopies are available with the metadata intaet to authenticate the
dates if the court so orders them be produced. These show the DOL inappropriately
manipulating agency records. Further, the contention ofthe Defendant that OASAM
have fulfilled their duties is moot fails simply because the Plaintiff has not received
these records. Furthermore, even without receiving the records, the testimony that
there were only 8 pages that were responsive for an employee with more than 30
years of service, makes it a near certainty that those records are not complete and
will be subject to appeal by FOIA regulations.


                                  CONCLUSION

For the reasons above, this Court should deny the Motion to Dismiss and find that
the motion ofthe Defendant is without merit and frivolous. That in filing a frivolous
motion, have shown contempt to this court. This court has jurisdiction because the
Plaintiff has plainly shown that she has constitutional standing to bring this lawsuit
to this Court and that she is within the zone-of-interests to demonstrate
prudential/statutory standing. Furthermore, the Defendant has already waived the
argument that that the Plaintiff has no standing.


Respectfully Submitted and Dated: May 16, 2019




                                                                        Ya-Wen Hsiao

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                                                                 Honolulu, HI 96814

                                                                      (808)728-2646
                                                            rabbitvhsiao@gmail.com


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                         CERTIFICATE OF SERVICE



The undersigned hereby certifies that on the date stated below, a true and correct
copy of the foregoing document was duly served upon the following by USPS
Priority Mail.


Harry Yee
PJKK Federal Building
300 Ala Moana Blvd. Room 6-100
Honolulu HI 96850


Samuel P Go
USDOJ/CIVIL/OIL/DCS
P.O. Box 868
Ben Franklin Station
Washington, D.C. 20044




Ya-Wen Hsiao
Dated: May 16, 2019, Honolulu HI




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